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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                      4:12CR3021

       vs.
                                                          MEMORANDUM AND ORDER
JARED LANCE HOWE,

                     Defendant.


       Defendant has moved to continue the trial currently set for November 6, 2012. (Filing
No. 52). As explained in the motion, defense counsel is not available during the current trial
setting. The motion to continue is unopposed. Based on the showing set forth in the motion, the
court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 52), is granted.

       2)     The trial of this case is set to commence before the Honorable John M. Gerrard,
              United States District Judge, in Courtroom 1, United States Courthouse, Lincoln,
              Nebraska, at 9:00 a.m. on December 4, 2012, or as soon thereafter as the case
              may be called, for a duration of four (4) trial days. Jury selection will be held at
              commencement of trial.

       3)     Based upon the showing set forth in the defendant’s motion and the
              representations of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a speedy
              trial. Accordingly, the additional time arising as a result of the granting of the
              motion, the time between today’s date and December 4, 2012, shall be deemed
              excludable time in any computation of time under the requirements of the Speedy
              Trial Act, because defense counsel has prepared this case but cannot attend on the
              current trial date and failing to grant additional time might result in a miscarriage
              of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).


       October 19, 2012.
                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
